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 1
 2                                 UNITED STATES DISTRICT COURT
 3                                        DISTRICT OF NEVADA
 4                                                      ***
 5    CALVARY CHAPEL DAYTON VALLEY,                             Case No. 3:20-cv-00303-MMD-CLB
 6                        Plaintiff,
                                                                        TRANSFER ORDER
 7            v.
 8    STEVE SISOLAK et al.,
 9                      Defendants.
10
11           The Plaintiff initiated this action with the filing of a complaint on May 22, 2020. ECF No.
12   1. A complaint, alleging similar claims, was filed on May 20, 2020 in case 2:20-cv-00907-RFB-
13   VCF. ECF No. 1. The presiding District Judges in both of these actions have individually and
14   collectively determined that these actions are related as both involve allegations relating to
15   restrictions placed upon places of worship by the state in response to the novel coronavirus disease
16   (“COVID-19”) pandemic. The presiding District Judges further find that there is good cause to
17   reassign these cases to one District Judge and one Magistrate Judge pursuant to Local Rule 42-
18   1(a) and that this transfer will promote judicial efficiency, avoid duplicative filings by the parties,
19   and will not result in prejudice to the parties.
20           IT IS THEREFORE ORDERED that case no. 3:20-cv-00303-MMD-CLB is reassigned to
21   District Judge Richard F. Boulware, II, and Magistrate Judge Cam Ferenbach, who were assigned
22   the earlier case, and all future pleadings shall bear case number 3:20-cv-00303-RFB-VCF.
23           DATED: May 29, 2020.
24
25   ______________________________                                 _____________________________
26   MIRANDA M. DU                                                  RICHARD F. BOULWARE II
     United States District Judge                                   United States District Judge
27
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